             Case 2:21-cv-00082-JCC Document 17 Filed 12/03/21 Page 1 of 3



1
                                                   THE HONORABLE JOHN C. COUGHENOUR
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE

10   ROBERTO RIZZO,
                                                       No. 2:21-cv-00082-JCC
11                                  Plaintiff,
                                                       [PROPOSED] ORDER GRANTING JOINT
12                           v.                        MOTION TO CONTINUE

13   ALASKA BOAT COMPANY, LLC

14                                  Defendant.

15

16             This matter comes before the Court on the parties’ Joint Motion to Continue. Finding

17   the parties’ motion supported by good cause, the Court amends the scheduling order (Dkt. #

18   15) as follows:

19
                          Event                        Current Date             Proposed Date
20
      Pleading amendments and third-party           September 27, 2021         January 24, 2022
21    actions
      Discovery cutoff                               February 28, 2022          June 28, 2022
22    Rule 39.1 Mediation                             March 14, 2022            July 11, 2022
      Dispositive motion deadline                     March 29, 2022            July 25, 2022
23

     {29624-00761857;1}
      [PROPOSED] ORDER GRANTING JOINT MOTION TO                                    Le Gros Buchanan
      CONTINUE                                                                          & Paul
      Case No. 2:21-cv-00082-JCC - Page 1                                             4025 delridge way sw
                                                                                             SUITE 500
                                                                                  SEATTLE, WASHINGTON 98106-1271
                                                                                           (206) 623-4990
             Case 2:21-cv-00082-JCC Document 17 Filed 12/03/21 Page 2 of 3



1                         Event                   Current Date       Proposed Date

2     Pretrial Order                               June 17, 2022    October 17, 2022
      Trial briefs and proposed voir dire/jury     June 23, 2022    October 24, 2022
3     instructions
      Jury trial (estimated 5 days)                June 27, 2022    October 31, 2022
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6              So ORDERED this 3rd day of December 2021.

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                                                      A
                                                      John C. Coughenour
                                                      UNITED STATES DISTRICT JUDGE
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     {29624-00761857;1}
      [PROPOSED] ORDER GRANTING JOINT MOTION TO                         Le Gros Buchanan
      CONTINUE                                                               & Paul
      Case No. 2:21-cv-00082-JCC - Page 2                                  4025 delridge way sw
                                                                                  SUITE 500
                                                                       SEATTLE, WASHINGTON 98106-1271
                                                                                (206) 623-4990
             Case 2:21-cv-00082-JCC Document 17 Filed 12/03/21 Page 3 of 3



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                                              CERTIFICATE OF SERVICE
2
                                    I hereby certify that on December 3, 2021, I electronically
3                         filed the foregoing with the Clerk of the Court using the CM/ECF
                          system, which will send notification of such filing to the following:
4
                                            Dennis M. O’Bryan, Esq.
5                                           Sean O’Bryan, Esq.
                                            O’Bryan Baun Karamanian
6                                           401 S. Old Woodward, Suite 463
                                            Birmingham, MI 48009
7                                           Email:    dob@obryanlaw.net
                                            Attorney for Plaintiff
8
                                            Christopher M. Davis, Esq.
9                                           Davis Law Group, P.S.
                                            2101 Fourth Ave., Ste. 1030
10                                          Seattle, WA 98121
                                            Email:    chris@davislawgroupseattle.com
11                                          Attorney for Plaintiff

12                               I certify under penalty of perjury under the laws of the State of
                          Washington that the foregoing is true and correct.
13
                                   Signed at Seattle, Washington.
14
                                            s/Sheila Baskins
15                                          Sheila Baskins, Legal Assistant
                                            4025 Delridge Way S.W., Suite 500
16                                          Seattle, Washington 98106
                                            Telephone: 206-623-4990
                                            Facsimile: 206-467-4828
17                                          sbaskins@legros.com

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     {29624-00761857;1}
      [PROPOSED] ORDER GRANTING JOINT MOTION TO                                                       Le Gros Buchanan
      CONTINUE                                                                                             & Paul
      Case No. 2:21-cv-00082-JCC - Page 3                                                                4025 delridge way sw
                                                                                                                SUITE 500
                                                                                                     SEATTLE, WASHINGTON 98106-1271
                                                                                                              (206) 623-4990
